                EXHIBIT 23




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NORTH CAROLINA                              IN THE GENERAL COURT OF JUSTICE

WAKE COUNTY                                         SUPERIOR COURT DIVISION

                                                          24 CV 032897-910

MARK KEITH ROBINSON,                         )

      Plaintitt
v.                                                    AMENDED COMPLAINT

CABLE NEWS NETWORK, INC.,                              Demand for a Jury Trial

LOUIS LOVE MONEY,

      Defendants.



       1.         CNN and Louis Love Money are responsible for a new low in digital

lynching. In a malicious hit job so well timed as to be uncanny, they have published

disgusting lies about Lieutenant Governor Mark Robinson in what appears to be a

coordinated attack aimed at derailing his campaign for governor, and has already

inflicted immeasurable harm to his family, his reputation, and his good name. This

lawsuit, while utterly insufficient to right this wrong, shall serve as a small measure

of accountability.

                                          Parties

      2.          Lieutenant Governor Mark Keith Robinson ("Lt. Gov. Robinson") is an

individual who is a resident and citizen of North Carolina and maintains his office at

the Hawkins-Hartness House at 310 North Blount Street, Raleigh for his work as the




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            Electronically                             County           Superior Court
Lieutenant Governor. He is the first black man to hold that title in North Carolina

and is the Republican candidate for governor of North Carolina.

      3.     Defendant Cable News Network, Inc.           ("CNN") is a Delaware

corporation, with its headquarters in Georgia. CNN purports itself to be "The Most

Trusted Name in News" and is one of the world's most well-recognized media

companies. CNN's broad network of television, website, social media accounts, and

digital networks reaches millions of people in North Carolina. CNN has a bureau in

Charlotte, North Carolina, is registered with the North Carolina Secretary of State

as a foreign corporation authorized to do business in North Carolina, and maintains

a registered agent in Raleigh, North Carolina.

      4.     Defendant Louis Love Money ("Money") is an individual who is a

resident and citizen of North Carolina and resides in Guilford County. He is 52 years

old, sings in a local punk rock band called Trailer Park Orchestra, and appears to

have changed his name from Louis Alen Wooten.

                               Jurisdiction & Venue

      5.     This Court has subject matter jurisdiction over this cause of action

pursuant to North Carolina General Statutes § 1-75.4.

      6.     This Court has personal jurisdiction because Defendants transmitted

their statements into North Carolina, relied on North Carolina sources, the

statements, evidenced by their focus on the current Lieutenant Governor of North

Carolina and candidate for Governor of North Carolina, focused on North Carolina

with the intent that the statements' impact would be felt in North Carolina, Lt. Gov.



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Robinson felt the harm of Defendants' statements in North Carolina, and personal

jurisdiction is consistent with the North Carolina Long Arm Statute, N.C. Gen. Stat.

§ 1-75.4. Further, Defendant Money lives in North Carolina.

       7.     Venue for this action is properly in Wake County, North Carolina,

pursuant to North Carolina General Statutes § 1-82.

                             The Defamatory Statements

       8.     On August 11, 2024, Defendant Money released a music video on

YouTube-his band's first in three years titled "The Lt. Governor Owes Me Money"

(the "Music Video"). In the Music Video, a man in a suit, wearing a generic rubber

mask of a black man, intended to depict Lt. Gov. Robinson, enters a pornography

video store to view and purchase pornographic videos. In the Music Video, Defendant

Money repeatedly addresses the song to "Mark" and to "Mr. Robinson," further

identifying the subject as the "first black man" to hold the title of lieutenant governor.

The lyrics of the song falsely accuse Lt. Gov. Robinson of owing money for a "bootleg"

porn video that Defendant Money supposedly produced for him, which is the basis for

the song's title.

       9.      Within weeks of this then-obscure, barely-viewed Music Video being

published, Defendant Money was interviewed by a major online publication with

links to George Soros, The Assembly. This resulted in an article published on

September 3, 2024, titled "Ex-Porn Shop Employees Say Mark Robinson Was A

Regular. He Denies It." (the "Assembly Article"). In the Assembly Article, Defendant

Money falsely alleges that in the 1990s and early 2000s        when Lt. Gov. Robinson




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was already a married father of two children         Robinson was a "frequent customer"

at a pornographic video store where Money worked. According to Defendant Money's

outrageously false allegations, Lt. Gov. Robinson, for "several years," hung out at the

X-rated video store "five nights a week"          sometimes until 4:00 a.m.   "spending a

good amount of money," paying $8 per video to preview "two or more" porn videos a

night in a private booth, and purchasing "hundreds" of "bootleg" porn videos for $20-

$25 a piece. According to Defendant Money, these bootleg videos were "super

hardcore" and compiled from videos too risqué or extreme to sell in North Carolina.

Echoing his false allegations from the Music Video, Defendant Money once again

claims that Lt. Gov. Robinson owes him money for one of these bootleg porn videos.

          10.   These false allegations from the Music Video and the Assembly Article

are hereinafter referred to collectively as the "Defendant Money Defamatory

Statements."

          11.   Sixteen days atter the Assembly Article, CNN published an article,

salaciously titled "I'm a black NAZI!: NC GOP nominee for governor made dozens of

disturbing comments on porn forum" (the "CNN Article"). In the CNN Article, CNN

falsely     attributes   statements   allegedly    made   on   a   pornographic   website,

NudeAfrica.com, under the username "minisoldr" as being authored by Lt. Gov.

Robinson. These falsely attributed statements include several lewd, sex-obsessed,

racist, and outrageous statements, including the comment from the title of the article,

"Tm a black NAZI!" CNN claims that these statements are only a "selection" and a

"small portion" of graphic statements it attributes to Lt. Gov. Robinson from the




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NudeAfrica website, suggesting that the withheld statements are even more obscene

than those included in the CNN Article. The CNN Article also falsely claims that Lt.

Gov. Robinson, as a married man, created an account on AdultFriendFinder.com,

which is a website used to find sexual partners.

      These false statements from the CNN Article are hereinafter referred to as the

CNN Defamatory Statements.

                                 Factual Background

Background ofLieutenant Governor Robinson

      12.    Mark Robinson is the father of two grown children, and husband of 34

years to his wife Yolanda. He is the lieutenant governor of North Carolina     the first

black man to hold this position. He is the Republican candidate for governor. He is a

community leader and passionate advocate for education and Constitutional rights.

He is a role model. But this was all hard-fought. He had to lift himself out of poverty

and out of bankruptcy. He overcame growing up with an abusive, alcoholic father,

and stints in foster care. He was the first in his family to graduate from college.

      13.    CNN and Louis Love Money, in their cynical and malicious smears, are

trying to tear him down and take away all that he has achieved by portraying him as

something he is not.

      14.    After graduating high school, Mark Robinson joined the Army Reserve

and served until 1993, when he was honorably discharged.

      15.    Inthe 1990s, Mark Robinson was a young father, struggling to provide

for his family. During this period, he worked at Papa John's pizza, eventually being




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promoted to manager, where he sometimes managed the closing shift. Nearby was an

adult video store where Defendant Money worked. Lt. Gov. Robinson, who has always

been a gregarious, outgoing person, made friends with Defendant Money, who also

worked the night shift. He would occasionally bring over free pizza and socialize.

More often, however, Defendant Money would come over to the Papa John's, looking

for free or discounted pizza.

       16.   Contrary to the portrayal by Defendant Money, Lt. Gov. Robinson was

not spending hours at the video store, five nights a week. He was not renting or

previewing videos, and he did not purchase "bootleg" or other videos from Defendant

Money. When Robinson managed the closing shift, usually closing at around

midnight, he went home after work so that he could wake up at a reasonable hour

and spend time with his wife and two young children. Robinson stopped working at

Papa John's in or about early 2001, and from then until 2022 he never saw Defendant

Money again.

       17.   After Papa John's, Robinson worked for various manufacturing

companies, including Hayco, an aircraft manufacturer.

       18.   Lt. Gov. Robinson was an early adopter of Facebook. He joined in 2007,

and he has maintained an unlocked, public account since then. He was also an active

user, getting into heated political and social debates, with other Facebook users from

those early days. Against the advice of many, he never deleted his history or made

the account private. He believes in transparency. Even though his views have

changed over the course of 17 years, as a public servant, Lt. Gov. Robinson believes




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that North Carolina voters have the right to know what he has said in the past, and

critically to this lawsuit what he has not.

      19.    In 2018, Lt. Gov. Robinson started a new chapter in his life, bursting

onto the political scene as a complete outsider. He showed up to a city council meeting

as a concerned citizen, because they were debating whether to cancel a gun show in

the wake of a horrific school shooting in Parkland, Florida. He stood in line to speak

his mind in defense of the Second Amendment and did so in a passionate speech that

went viral on the internet.

      20.    From there, Lt. Gov. Robinson became far more interested and involved

in politics. He became active in the Guilford County GOP, started giving speeches to

organizations like the National Rifle Association, and in 2020 he threw his hat in the

ring for lieutenant governor of North Carolina. To the surprise of many, including

himself, he won.

      21.    As lieutenant governor, Robinson has been a tireless leader, helping to

improve quality and access to education in North Carolina. He has been a fierce

advocate for supporting North Carolina families, and pro-life initiatives. Currently,

he is leading the effort to provide disaster relief to North Carolinians whose homes

and livelihoods have been destroyed by Hurricane Helene.


Defendant Money spins a defamatory fantasy

      22.    In2022, Lt. Gov. Robinson was at Planet Fitness for his routine workout

when he heard a friendly greeting. It was Defendant Money. Lt. Gov. Robinson

recognized him but couldn't place him at the time. They had a pleasant conversation


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that consisted mostly of Defendant Money saying how proud he was of Mark, and

that it was great to see a regular, working-class guy succeed in politics. There was no

talk about bootleg videos or Lt. Gov. Robinson owing him any money. Defendant

Money asked for a photo with the lieutenant governor, and that was the end of the

encounter.

      23.    Lt. Gov. Robinson didn't give this a second thought. He was regularly

recognized for his public role, and he was always happy to speak with and take photos

with constituents and acquaintances. Unknown to the lieutenant governor, however,

Defendant Money would later use this encounter and their prior, passing

acquaintance against him in a fantasy, concocted by Money to embarrass and tear

him down, and to seek his own fifteen minutes of fame.

      24.    In August 2024, Defendant Money released the Music Video, as

described above. Initially, it was seen by very few people. Within weeks, however,

Defendant Money sat for an interview with The Assembly, a publication with ties to

George Soros. The Assembly Article was viewed by tens of thousands of people, which

also raised the profile of the Music Video, causing thousands of people to view and

share it online.

      25.    While Defendant Money describes the song in the Assembly interview

as a harmless "inside joke," the entire premise of the Music Video is not a joke, but a

deliberate lie. Moreover, the Music Video was intended to be understood as fact, not

as hyperbole or exaggeration. Defendant Money admits this in the Assembly Article.




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       26.       Defendant Money spins his fantasy to even greater heights of falsity and

depravity in the Assembly interview by claiming that Lt. Gov. Robinson             then a

financially struggling, married father of two young children was spending every

night after work, for hours at atime even until 4:00 a.m. hanging out at an adult

video store, and spending thousands of dollars on "hardcore," bootleg porn videos

some too risqué or explicit to sell in the state of North Carolina    and on private booth

previews. Every bit of this is knowingly false, but Defendant Money uses his selfie

with Lt. Gov. Robinson in 2022, and his fellow porn store friends as supposed

corroboration.

       27.       Defendant Money appears to take great pleasure from the publicity he

is receiving from these lies. In a subsequent YouTube video, Defendant Money gloats

over the publicity he has gotten and thanks Lt. Gov. Robinson for denying the story.

In his X bio, he now describes himself as "the most famous former porn clerk in the

world!"

       28.       Defendant Money tacitly admits that his story was timed to coincide

with the election and cause Lt. Gov. Robinson maximum damage, saying "I'm glad I

waited" to make the Music Video. He even posts memes on X suggesting that his

Music Video "saved" young women by derailing the candidacy of a Republican, pro-

life governor.


CNNpiles on with its own impeccably timed and recklessly false hit piece

       29.       Prior to publication of the CNN Article, CNN reached out to Lt. Gov.

Robinson. He specifically and unequivocally denied CNN's allegations that he used


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or created the "minisoldr" NudeAfrica profile or made any of those statements. He

told CNN that it was entirely manufactured. CNN did not give Lt. Gov. Robinson any

opportunity to inspect or investigate any of the source material for these alleged

statements.

      30.     CNN, despite Lt. Gov. Robinson's explicit denials, chose to publish the

CNN Article based on data from a dubious and vulnerable website, supposed

corroboration from unverified   indeed, unverifiable-data, apparently sourced from

hacked, data breach files, obtained from the dark web. It chose to publish despite

knowing or recklessly disregarding that Lt. Gov. Robinson's data       including his

name, date of birth, passwords, and the email address supposedly associated with the

NudeAfrica account     were previously compromised by multiple data breaches. Any

person could have purchased and/or used Lt. Gov. Robinson's data to create accounts

all over the internet. As CNN is aware, people who create accounts on websites like

NudeAfrica, and AdultFriendFinder prefer not to use their own names and identities

for obvious reasons.

      31.     CNN did nothing to verify the posts from NudeAfrica. Indeed, CNN did

not even contact the owner of NudeAfrica prior to publishing the CNN Article.

      32.     CNN either knew or recklessly disregarded the fact that the NudeAfrica

website used outdated and highly vulnerable software, easily exploited to plant

malicious lies. Indeed, CNN either knew or recklessly disregarded the fact that the

NudeAfrica website was hacked in 2018 and appears to use the same vulnerable

software it used at the time it was hacked.




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      33.    CNN either knew or recklessly disregarded that NudeAfrica uses Discus

Pro 4.10.1 as its website forum software, which was released 18 years ago, and is

highly vulnerable to exploitation and manipulation, including but not limited to

direct database manipulation, user impersonation, thread integration, timestamp

manipulation, content generation, and log manipulation.

      34,    CNN either knew or recklessly disregarded that the NudeAfrica forum

uses Perl 5.016003, an outdated scripting language which is beyond its end-of-life,

has not received security updates in almost 10 years, and is commonly known to be

vulnerable to remote code execution and security bypass exploitations.

      35.    CNN either knew or recklessly disregarded that the NudeAfrica forum

is obviously vulnerable to manipulation, and that a hacker with rudimentary skills

could create, backdate, and integrate forum posts and user accounts on NudeAfrica

such as the ones CNN attributed to Lt. Gov. Robinson in the CNN Article.

      36.    The CNN Article includes reference to Defendant Money's allegations as

reported in the Assembly Article, provides a link to the Assembly Article, and notes

Lt. Gov. Robinson's denial. This re-reporting by CNN expanded the reach of

Defendant Money's Defamatory Statements even further.

      37.    On October 1, 2024, Lt. Gov. Robinson, by counsel, sent a retraction

demand to CNN. Two days later, on October 3, 2024, Lt. Gov. Robinson further

demanded that CNN produce the source material for its bogus allegations so that it

could be subjected to forensic scrutiny and verification. CNN responded the next day,




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refusing to retract the article and has still declined to produce any of its source

material for inspection.

       38.   Almost immediately after the CNN Article broke, the NudeAfrica

website owner shut down the forum section of its website, where these alleged posts

were supposedly archived. It then deleted all messages from minisoldr, thereby

removing evidence that could be investigated.

       39.   CNN had every reason to doubt the veracity of the data upon which it

relied. CNN knew that supposed archives from a suspicious and highly vulnerable

website like NudeAfrica were unreliable and failed to meaningfully investigate or

digitally scrutinize them. CNN knew that supposedly corroborating information it

used was from unverifiable, dark web-sourced data breach files. CNN knew or

recklessly disregarded the fact that Lt. Gov. Robinson's email, passwords, and

personal data had been stolen. CNN knew that Lt. Gov. Robinson's facebook history,

which is unlocked and transparent to all, goes back to 2007. CNN knew that just

weeks prior to its article, Lt. Gov. Robinson had been targeted by another ludicrous

and dubiously sourced hit piece by The Assembly. CNN knew that the election was

less than two months away.

      40.    With all that knowledge, rather than conduct any kind of serious

investigation or digital forensics on these supposedly decade-old posts, or even

question the timing for their surfacing all-of-a-sudden, CNN recklessly proceeded to

attribute them to Lt. Gov. Robinson. It disregarded or deliberately avoided the truth,

fully intending to derail Lt. Gov. Robinson's political career. CNN's continued failure



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to produce any source material and their utter incuriosity over the veracity of their

source material are telling on this point.

         41.    CNN a politically left-wing media outlet, whose reporting is often

indistinguishable from Democrat party talking points and opposes politically

conservative candidates for office, including Lt. Gov. Robinson    intended to damage

Lt. Gov. Robinson's gubernatorial run. CNN published the CNN Article and

attributed the "minisoldr" posts to Lt. Gov. Robinson despite harboring doubt over

the veracity and verifiability of the supposedly supporting information and

deliberately avoided the truth.

         42.    Lt. Gov. Robinson can never be fully compensated for the damage done

by Defendants' lies. His private and public lives have been devastated. Friends and

family have turned their backs on him. He has been humiliated. It is therefore

imperative that CNN, Money, and anyone else involved, be held fully accountable,

not just to mitigate the harm they have done, but to vindicate Lt. Gov. Robinson and

allow him to begin the healing process.

                                       COUNT I
               Defamation and Defamation per se against Defendant Money

         43.    Lt. Gov. Robinson realleges and incorporates paragraphs 1 through 42

above.

         44,    Defendant Money's Defamatory Statements are knowingly false.

         45.    Defendant Money published his Defamatory Statements to thousands of

people on the internet, via YouTube, X, and by giving an interview to The Assembly.




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Defendant Money's lies, as intended by Defendant, have been reposted and reshared

online to thousands more.

       46.   Defendant Money's Defamatory Statements are reasonably understood

to be statements of fact, rather than hyperbole or opinion, as demonstrated not only

by the language used by Defendant, but by the reactions and comments of hundreds

of individuals who responded to and reposted Defendant's statements.

       47,   Defendant     Money's      Defamatory    Statements      have   directly   and

proximately caused Lt. Gov. Robinson to suffer significant damages, including direct

damages, damages to his reputation, public disgrace, humiliation, embarrassment,

mental anguish, distress, and anxiety, all of which are ongoing in nature and will be

suffered in the future. These damages were foreseeable to Defendant Money.

       48.   Defendant Money, therefore, is liable for compensatory damages.

       49.   Defendant Money is also liable for punitive damages because of the

wanton and outrageous nature of the defamation and Defendant Money's actual

malice.

       50.   Defendant Money's Defamatory Statements are also defamatory per se

because they subject Lt. Gov. Robinson to ridicule, contempt, and disgrace.

       51.   Defendant Money acted with actual malice and reckless disregard for

the truth, as demonstrated by Defendant's extreme antipathy, ill-will, and desire to

inflict harm on Lt. Gov. Robinson, his blatant fabrications, and his actual knowledge

of the falsity of his statements.




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                                       COUNT II
                Defamation and Defamation per se against Defendant CNN

         52.    Lt. Gov. Robinson realleges and incorporates paragraphs 1 through 42

above.

         53.    CNN's Defamatory Statements are recklessly false.

         54,    Defendant CNN published its Defamatory Statements to hundreds of

thousands of people on the internet, via its website and social media networks.

Defendant CNN's Defamatory Statements, as intended by CNN, have been reposted

and reshared online to thousands more.

         55.    Defendant CNN's Defamatory Statements are reasonably understood to

be statements of fact because they are reported in a news article which purports to

report facts.

         56.    Defendant   CNN's    Defamatory    Statements      have   directly   and

proximately caused Lt. Gov. Robinson to suffer significant damages, including direct

damages, damages to his reputation, public disgrace, humiliation, embarrassment,

mental anguish, distress, and anxiety, all of which are ongoing in nature and will be

suffered in the future. These damages were foreseeable to Defendant CNN.

         57.    Defendant CNN, therefore, is liable for compensatory damages.

         58.    Defendant CNN is also liable for punitive damages because of the

wanton and outrageous nature of the defamation and Defendant CNN's actual

malice.

         59.    Defendant CNN's Defamatory Statements are also defamatory per se

because they subject Lt. Gov. Robinson to ridicule, contempt, and disgrace.



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      60.    Defendant CNN acted with actual malice and reckless disregard for the

truth, as demonstrated by Defendant's antipathy, ill-will, and desire to inflict harm

on Lt. Gov. Robinson, CNN's actual knowledge of the dubious nature and timing of

the allegations, its use of unverifiable data to corroborate its reporting, its reckless

failure to investigate, and its knowledge of exculpatory information and alternative

explanations that it deliberately omitted from the CNN Article.

                                   Prayer for Relief

      WHEREFORE, Plaintiff Mark Robinson demands judgment against
Defendants as follows:

      a.     An award of compensatory, special, and punitive damages, as well as

             disgorgement of any and all income Defendants have made off of their

             lies about Mark Robinson, in an amount to be proven at trial, in excess

             of twenty-five thousand dollars ($25,000.00);

      b.     An award of Plaintiff's costs associated with this action; and

             Such other and further relief as the Court deems just and appropriate

             to protect Plaintiffs rights and interests.




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                               Demand for Jury Trial

      Plaintiff demands a trial by jury on all issues so triable.


Dated: October 18, 2024                        MARK ROBINSON
                                               By Counsel

                                               Respectfully submitted,

                                               4s/Anthony J. Biller
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